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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:04CR302
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )               TENTATIVE FINDINGS
                                             )
JAVIER CRUZ-NARANJO,                         )
                                             )
              Defendant.                     )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objections thereto (Filing No. 166). The government has adopted the PSR.

(Filing No. 167.) See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are

advisory.

       Essentially, the Defendant objects to ¶¶ 14 (government’s version of the offense);

18 and 27 (drug quantity); 20 (statement of officer; statement regarding lack of role

adjustment); 28 (lack of adjustment for safety valve); 30 (lack of role adjustment); and the

lack of an adjustment for a downward departure.

¶ 14 - Government’s Version

       The Court is not at liberty to change the government’s version of the offense. The

objection is denied.
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¶¶ 18 and 27 - Drug Quantity

      The Defendant pleaded guilty without signing a plea agreement. The objection to

drug quantity will be heard at sentencing, and the government bears the burden of proof

by a preponderance of the evidence.

¶ 20 - Lack of Role Adjustment

      The Defendant objects to the lack of an adjustment for his alleged role as a minor

or minimal participant. The objection will be heard at sentencing. The Defendant bears the

burden of proof by a preponderance of the evidence.

¶ 28 - Safety Valve

      The objection will be heard at sentencing. The Defendant bears the burden of proof

by a preponderance of the evidence.

Downward Departure; U.S.S.G. § 5K2.0

      No motion for downward departure has been filed, and the deadline for filing a

motion for downward departure has passed. (Filing No. 172.) The objection is denied.

IT IS ORDERED:

      1.     The Defendant’s Objections to ¶ 14 of the Presentence Investigation Report

and to the lack of a downward departure pursuant to § 5K2.0 are denied;

      2.     The Defendant’s objections to ¶¶ 18 & 27 (drug quantity), 20 (role) and 28

(safety valve) will be heard at sentencing. If the parties need more than 60 minutes for

sentencing, they shall immediately contact Edward Champion, tel. 661-7377, and

reschedule the hearing;




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       3.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 10th day of November, 2005.

                                          BY THE COURT:

                                          s/ Laurie Smith Camp
                                          United States District Judge




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